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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 UNITED STATES OF AMERICA


 VS.                                                        Case No. 8:OS-CR-365-T-27TBM

 SERGIO PORTOCARRERO-REINA: et al.



                                             ORDER

        BEFORE THE COURT is Defendant Ulpiano Mina's Amended Motion to Sever (Dkt.

 164). the Government's opposition (Dkt. 167), the Government's supplemental response in

 opposition (Dkt. 182) and the Government's second supplemental response (Dkt. 206). Upon

 consideration, and the Court having heard argument, Defendant's Amended Motion to Sever (Dkt.

 164) is DENIED.

        The Government intends to introduce certain incriminating statements attributed to several

co-defendants by government informants. Defendant complains that the incriminating statements

attributed to co-defendants Portocarrero-Reina and Caiccdo would, if introduced, deprive Defendant

of his right to confrontation under the Sixth Amendment. if the Defendants to whom incriminating

statements are attributed do not testify. See Bruton v. C7nited States, 391 U.S. 123 (1968). In

response, the Government has filed proposed redacted versions of the statements, substituting

singular pronouns for plural pronouns, arguing that the redacted versions remedy any Bruton issues

(Dkt. 270). Most recently, the Government has noticed Defendants that there are not only several

statements attributed to Portocarrero-Reina and Caicedo but also statements attributed to co-
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 defendants Mina, Murillo-Cuero and Anchico-Jimenez. (Dkt. 270). According to the Government,

 all of the statements were made to fellow jail detainees.

        In response to Defendant's Amended Motion to Sever, the Government has proposed redacted

 versions of the statements (Dkts. 241,270). The Government proposes to redact the statements by

 substituting singular pronouns for plural pronouns, thereby removing any inference or reference to

 the co-defendants. With one exception. the Government's proposed redactions substitute singular

pronouns for plural pronouns, intended to eliminate any reference to the co-defendants.' The

proposed redactions are consistent with the redaction procedure approved in United States v.

Mendozu-Ceceliu, 963 F.2d 1467 (1 1th Cir. 1992), cert. denied, 506 U S . 964 (1992), abrogatedon

other grounds, Coleman v. Singletary: 30 F.3d 1420 (1 lth Cir. 1994).

        Defendant Mina contends generally that the redactions do not cure the Bruton violation.

(Dkts. 253,255). Moreover, Portocarrero-Reina objects that by virtue of the redactions. he will be

deprived of his right to cross-examine the individual(s) who attribute statements to him. (Dkt. 255).

He essentially contends that the redactions distort the true meaning and context of the statements

attributed to him, although he denies ever having made the statements (P. 1I).'


        '  In his alleged statement, Portocarrero-Reina does identify "Virgilio" (Caicedo) as having
ordered that the cable be cut, (Dkt. 270, p.3) and "Benito" as being on watch. The Government does not
intend to offer that portion of Portocarrero-Reina's statement identifying "Benito" and has proposed a
redaction eliminating the express reference to "Virgilio." (Dkt. 270, p. 4)

        ' Portocarrero-Reina raises a legitimate concern over redactions involving oral statements which
arguably change the substance of an incriminating statement. That concern was recognized by the
lmjority in Bruton. 391 U.S. at 134, n. 10. While a redaction which distorts an incriminating statement
would argoahly infringe on a defendant's fundamental right to a fair trial, this Court cannot conclude that
the proposed redactions here violate any of Portocarrero-Reina's constitutional rights, particularly his
right to confront atid cross examine the individual(s) who attribute the statements to him.. The proposed
redacted versions of his statements are no more incriminating than his un-redacted statements. Moreover,
he contends that he never even made the statements, not that he referenced his crew by using plural
pronouns.
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         Mendoza-Cecelia, a case also involving several individuals apprehended while onboard a

 vessel allegedly transporting narcotics, approved the substitution of a redacted confession which

 substituted singular pronouns for plural pronouns in the confessions. After redaction, the confessions

 read as first person narratives which "did not describe the involvement of the crew in the smuggling

operation." 963 F.2d at 1481. Here, like Mendoza-Cecelia, the proposed redacted versions of the

co-defendants' incriminating statements do not expressly implicate any of the other crew members

onboard the Rio-Mar and reads essentially like a first person narrative. The redacted versions do not

therefore violate Bruton because they do not compel a "direct implication of the complaining

defendant." Id At most, these statements only indirectly implicate the other crew members in the

towing of the submersible. They do not directly or indirectly implicate the co-defendants in the

knowing possession of the cocaine which was ultimately found on the submersible.

        The statements attribute knowledge ofthe cocaine only to the individuals who allegedly made

the statements. The critical issues in this case will be possession and knowledge. As Portocarrero-

Reina was the captain of the Rio-Mar and Caicedo professes in his statement to have been

responsible for the cocaine, their respective incriminating statements do not inculpate any ofthe crew

members as to knowledge. Their respective statements are not facially incriminating as to the crew

members and would become so only if linked to other evidence in the case. With aproper cautionary

instruction to the jury, no Bruton error will occur if these redacted statements are admitted.

        To the extent Defendant complains that introduction of the statements will violate his Sixth

Amendment rights under Crawford v. Washington, 541 U S . 36 (2004), Defendant's contention is

n~isplaced.Here, the statements attributed to Portocarrero-Reina and Caicedo are nothing more than
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 casual remarks made to an acquaintance or government informant. Cruwjord does not apply either

 to "casual remark[s] made to an acquaintance" or statements made unwittingly to a government

 informant, as those statements are not "testimonial". Crawford, 542 U.S. at 5 1,58; See UnitedStates

 v. Hendricks, 395 F.3d 173, 181 (3d. Cir. 2005).
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        DONE AND ORDERED in chambers this [\aY                 of July, 2006.




                                                               S D. WHITTEMORE
                                                      ~ n i i e dStates District Judge


 Copies to:
 Counsel of Record
